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 5   Attorney for Defendant, CAESAR ALEJANDRO GOMEZ
 6

 7
                       IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                        CASE NO: 1:15-cr-00288 LJO
10
                   Plaintiff,
11
     v.
12                                                    STIPULATION TO CONTINUE
                                                      SENTENCING AND ORDER
13                                                    [Proposed] Date: October 30, 2017
                                                      Time: 8:30 AM
14   CAESAR ALEJANDRO GOMEZ,                          Courtroom: LAWRENCE J. O’NEILL
               Defendant.
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17          The parties hereto, by and through their respective attorneys, stipulate that the sentencing
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     hearing in this action be continued from October 16, 2017 to October 30, 2017 at the hour of
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     8:30 am before the Honorable Lawrence J. O’Neill. The defendant’s Informal Objections to be
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     due on or before October 2, 2017. Formal Objections to be filed with the court on or before
21
     October 16, 2017. This stipulation is needed because the defendant’s counsel has been on a
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23   preplanned vacation since September 5, 2017 and will not return to Fresno until September 16.

24   Currently, Defendant Blanco’s informal objections are due on September 18, 2017. The current

25   schedule will not give counsel enough time to meet with Mr. Blanco to go over the PSR with
26
     him and to prepare informal and formal objections
27
     ///
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     STIPULATION TO CONTINUE SENTENCING CASE NO. 15-CR-00288
           Case 1:15-cr-00288-LJO-SKO Document 315 Filed 09/15/17 Page 2 of 2

     Dated: September 15, 2017                            /s/ Salvatore Sciandra
 1                                                        Attorney For Defendant
                                                          CAESAR ALEJANDRO GOMEZ
 2

 3   Dated: September 15, 2017                            Phillip Talbert
                                                          Acting United States Attorney
 4                                                        By: /s/ KATHLEEN SERVATIUS
                                                          Approved by Email on September 14, 2017
 5

 6

 7                                         ORDER
 8          The court has reviewed and considered the stipulation of the parties and good cause
 9
     appearing, IT IS ORDERED that the sentencing hearing in this matter be set on October 30, 2017 at
10
     8:30 AM. The defendant’s Informal Objections to be due on or before October 2, 2017. Formal
11
     Objections to be filed with the Court on or before October 16, 2017
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     IT IS SO ORDERED.
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15      Dated:     September 15, 2017                      /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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     STIPULATION TO CONTINUE SENTENCING CASE NO. 15-CR-00288
